      Case: 1:20-cv-07758 Document #: 1-1 Filed: 12/28/20 Page 1 of 15 PageID #:4


                                                                                     FILED
                                                                                     11/25/2020 4:50 PM
                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLNOIS                      DOROTHY BROWN
                                                                                     CIRCUIT CLERK
                         COUNTY DEPARTMENT, LAW DIVISON                              COOK COUNTY, IL

SYLVIA GONZALEZ,                                    )                                2020L012661

                                                    )
                                Plaintiff,          )
                                                    )
        vs.                                         )      Ro
                                                    )
DOLLAR TREE STORES, INC. d/b/a
DOLLAR TREE,                                        )
                                                    )
                                Defendant.          )

                                             COMPLAINT

       NOW COMES the Plaintiff, SYLVIA GONZALEZ, by and through her attomeys,

CARY J. WINTROUB & ASSOCIATES, and complaining of the Defendant, DOLLAR TREE

STORES, INC., states as follows:

        1.      That on or about December 3, 2018, and for some time prior and subsequent

thereto, the Defendant, DOLLAR TREE STORES, INC., was a foreign corporation, registered to

do business in the State of Illinois.

       2.      That on or about December 3, 2018, and for some time prior and subsequent

thereto, the Defendant, DOLLAR TREE STORES, INC. owned, operated, managed, maintained

and controlled the premises, d/b/a DOLLAR TREE, located at 4840 West 211" Street, in the

City of Matteson, County of Cook and State of Illinois.

       3.      That it then and there because and was the duty of the Defendant, DOLLAR

TREE STORES, INC., individually, and by and through its agents, servants and employees, to

exercise reasonable and ordinary care and caution in the about the ownership, operation,

management, maintenance and control of said premises so that same would be in a good, safe

and proper condition for persons legally and lawfully in and upon said premises.

                                                                                   Exhibit A
      Case: 1:20-cv-07758 Document #: 1-1 Filed: 12/28/20 Page 2 of 15 PageID #:5




        4.     That on or about December 3, 2018, the Plaintiff, SYLVIA GONZALEZ, was a

customer, patron and business invitee of the Defendant, DOLLAR TREE STORES, INC. and

was legally and lawfully in and upon the aforesaid premises.

        5.     That at the time and place aforesaid, as the Plaintiff, SYLVIA GONZALEZ, was

shopping in Defendant's store, when a shelf fell on top of her.

        6.     That at the time and place aforesaid, the Defendant, DOLLAR TREE STORES,

INC, individually and by and through its agents, servants and employees, carelessly and

negligently acted or failed to act in one or more of the following ways:

               (a)     Improperly operated, managed, maintained and controlled said
                       premises so that as a direct result thereof the Plaintiff was injured;

               (b)     Failed to provide a good, same and proper place for the Plaintiffto
                       be, use and occupy while on their premises;

               (c)     Failed to safely stock merchandise on shelving that was accessible
                       to the customers;

               (d)     Failed to safely stock/display merchandise for purchase;

               (e)     Failed to maintain shelving units upon their premises to be certain
                       same was in a good, safe and proper condition;

               (f)     Failed to inspect said premises to be certain same was in a good,
                       safe and proper condition; and/or

               (g)     Failed to warn the Plaintiff of said condition.

       7.      That as a direct and proximate result of one or more of the aforesaid careless

and/or negligent acts of the Defendant, DOLLAR TREE STORES, INC., individually and by

and through its agents, servants and employees, the Plaintiff, SYLVIA GONZALEZ, suffered

and will, in the future, suffer injuries of a personal, permanent and pecuniary nature.
        Case: 1:20-cv-07758 Document #: 1-1 Filed: 12/28/20 Page 3 of 15 PageID #:6

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            WI-iEREFORE, Plaintiff, SLYVIA GONZALEZ, prays for the entry of judglnent against

    the Defendant, DOLLAR TREE STORES. 1NC.., in an aillount in escess of THIRT'T'

    THOUSAND AND 00/ ] 00"" (S30,000.00) DOLLARS , hIL1S COStS Of t111S SUlt.


                                                     CARY J. WINTROUB &c ASSOCIATES




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                                                                   n   ~   • "
                                                                                 J   •J
                                                                                          /i   '   ?.r

                                                           Alexander Lin'dberg


    I.D. r 44667
    CARY J. WINTROUB & ASSOCIATES
    Attonlcys foi- Plaintiff'
    ] 0 Soutli LaSalle Strcct
    Suite ?42=1
    Chicago, Illinois 60603
    312/726-1021
    al@cjwlaw.conl
    Case: 1:20-cv-07758 Document #: 1-1 Filed: 12/28/20 Page 4 of 15 PageID #:7




                                AFFIDAVIT OF DAMAGES

                               SUPREME COURT RULE 222

                    The undersigned being first duly sworn upon oath,
                    deposes and states that he is the attomey for the
                    plaintiff in the above entitled cause of action seeking
                    money damages, and states that this cause of action
                    DOES exceed $30,000.00.



                                                   CARY J. WINTROUB & ASSOCIATES


                                                   BY:
                                                            Attorneys for Plai '        -------


Subscribed and Swom to before me

         1112 0l zC--)
                                                       "OFFICIAL SEAL"
                                              W         STEPHANIE RIVERA
                                                     Notary Public, State of Itlinois
 otary                                            My Commission Explres
                                                                           12/12/2022


I.D. # 44667
CARY J. WINTROUB & ASSOCIATES
Attorneys for Plaintiff
10 South LaSalle Street
Suite 2424
Chicago, Illinois 60603
312/726-1021
al@cjwlaw.com
               Case: 1:20-cv-07758 Document #: 1-1 Filed: 12/28/20 Page 5 of 15 PageID #:8




                                                                                                                        JWG / ALL
                                                                                                     Transmittal Number: 22431160
Notice of Service of Process                                                                            Date Processed: 12/15/2020

Primary Contact:           Cynthia Bertucci
                           Dollar Tree, Inc.
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   JJ Jacobson-Allen
                                               Heather Hunter

Entity:                                       Dollar Tree Stores, Inc.
                                              Entity ID Number 3697563
Entity Served:                                Dollar Tree Stores, Inc
Title of Action:                              Sylvia Gonzalez vs. Dollar Tree Stores, Inc. d/b/a Dollar Tree
Matter Name/ID:                               Sylvia Gonzalez vs. Dollar Tree Stores, Inc. d/b/a Dollar Tree (10740751)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2020L012661
Jurisdiction Served:                          Illinois
Date Served on CSC:                           12/15/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
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                                                                                                   Exhibit B
12/21/2020                                   Case: 1:20-cv-07758 Document  #: 1-1 Filed:
                                                                      Corporation/LLC        12/28/20
                                                                                      Search/Certificate    Page
                                                                                                         of Good    6 of 15 PageID #:9
                                                                                                                 Standing




                        Office of the Secretary of State Jesse White




       Corporation/LLC Search/Certificate of Good Standing

       Corporation File Detail Report


             File Number                    58239232

             Entity Name                    DOLLAR TREE STORES, INC.

             Status
             ACTIVE




          Entity Information


          Entity Type
          CORPORATION

          Type of Corp
          FOREIGN BCA

          Qualification Date (Foreign)
          Monday, 13 March 1995

          State
          VIRGINIA
                                                                                                                                Exhibit C
https://apps.ilsos.gov/corporatellc/CorporateLlcController                                                                                  1/3
12/21/2020                                  Case: 1:20-cv-07758 Document #: 1-1 Filed:
                                                                     Corporation/LLC       12/28/20of Page
                                                                                     Search/Certificate        7 of 15 PageID #:10
                                                                                                        Good Standing


          Duration Date
          PERPETUAL




          Agent Information


          Name
          ILLINOIS CORPORATION SERVICE C

          Address
          801 ADLAI STEVENSON DRIVE
          SPRINGFIELD , IL 62703

          Change Date
          Tuesday, 13 June 2017




          Annual Report


          Filing Date
          Monday, 22 June 2020

          For Year
          2020




          Officers


          President
          Name & Address
          MIKE WITYNSKI 500 VOLVO PARKWAY CHESAPEAKE VA 23320



https://apps.ilsos.gov/corporatellc/CorporateLlcController                                                                           2/3
12/21/2020                                     Case: 1:20-cv-07758 Document #: 1-1 Filed:
                                                                        Corporation/LLC       12/28/20of Page
                                                                                        Search/Certificate        8 of 15 PageID #:11
                                                                                                           Good Standing

          Secretary
          Name & Address
          WILLIAM A OLD JR. SAME




          Assumed Name


          INACTIVE
          DOLLAR BILL$

          INACTIVE
          DEAL$




          Return to Search


          File Annual Report
          Adopting Assumed Name
          Change of Registered Agent and/or Registered O ce

                                                                                                                                  (One Certificate per Transaction)



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https://apps.ilsos.gov/corporatellc/CorporateLlcController                                                                                                               3/3
12/21/2020                               Case: 1:20-cv-07758 Document #: 1-1 Filed: 12/28/20
                                                                                VIRGINIA - SCC Page 9 of 15 PageID #:12




       Entity Information


         Entity Information

                                                                                 Entity Name: DOLLAR TREE STORES, INC.
                                                                                     Entity ID: 02938496

                                                                                  Entity Type: Stock Corporation
                                                                                 Entity Status: Active
                                                                           Formation Date: 10/15/1986
                                                                          Reason for Status: Active and In Good Standing
                                                                    VA Qualification Date: 10/15/1986
                                                                                  Status Date: 12/01/2004
                                                                             Industry Code: 0 - General
                                                                        Period of Duration: Perpetual
                                                                            Jurisdiction: VA
                                                                 Annual Report Due Date: N/A
                                                              Registration Fee Due Date: Not Required
                                                                             Charter Fee: $0.00



         Registered Agent Information

                                                                     RA Type: Entity                                       Exhibit D
                                                                      Locality: RICHMOND CITY
             Privacy Policy (https://www.scc.virginia.gov/privacy.aspx)   Contact Us (https://www.scc.virginia.gov/clk/clk_contact.aspx)

https://cis.scc.virginia.gov/EntitySearch/BusinessInformation?businessId=135391&source=FromEntityResult&isSeries=False                     1/7
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                                                                               VIRGINIA - SCC Page 10 of 15 PageID #:13

                                                             RA Qualification: BUSINESS ENTITY
                        (https://www.facebook.com/VirginiaStateCorporationCommission)          THAT IS AUTHORIZED TO TRANSACT BUSINESS IN
                                                                                            (https://twitter.com/VAStateCorpComm)
                                                                               VIRGINIA
                                                                                  Name: CORPORATION SERVICE COMPANY
                                                               Registered Office Address: 100 Shockoe Slip Fl 2, Richmond, VA, 23219 - 4100, USA



         Principal Office Address

                                                                                      Address: 500 VOLVO PKWY, CHESAPEAKE, VA, 23320 - 0000, USA



         Principal Information



                                                                                                                                                          Last
      Title                                                          Director       Name                          Address                                 Updated

      Assistant Secretary                                            No             CYNTHIA BERTUCCI               500 VOLVO PKWY, CHESAPEAKE, VA,        09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             DEBORAH MILLER                 500 VOLVO PKWY, CHESAPEAKE, VA,        09/29/2020
                                                                                                                   23320 - 0000, USA

      Chief Executive Officer                                        Yes            KEVIN S. WAMPLER               500 VOLVO PARKWAY, CHESAPEAKE, VA,     09/29/2020
                                                                                                                   23320 - 0000, USA

      President, Chief Executive Officer                             Yes            MICHAEL WITYNSKI               500 VOLVO PKWY, CHESAPEAKE, VA,        09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President, Treasurer, Assistant Secretary                 No             ROGER DEAN                     500 VOLVO PKWY, CHESAPEAKE, VA,        09/29/2020
                                                                                                                   23320 - 0000, USA

      Deputy General Counsel                                         No             BETH BERMAN                    500 VOLVO PKWY, CHESAPEAKE, VA,        09/29/2020
                                                                                                                   23320 - 0000, USA
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                                                                               VIRGINIA - SCC Page 11 of 15 PageID #:14

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                                                                                                                                                                 Last
      Title                                                          Director       Name                          Address                                        Updated

      Chief Human Resources Officer                                  No             BETTY CLICK                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Chair                                                          No             BOB SASSER                     500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Zone Vice President                                            No             BRIAN PRETTYMAN                500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             BRUCE PAOLINI                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Chief Development Officer                                      No             BRUCE WALTERS                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             CHRISTOPHER                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    TEETER                         23320 - 0000, USA

      Senior Vice President                                          No             CHRISTOPHER                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    WILLIAMS                       23320 - 0000, USA

      Assistant Secretary                                            No             CLINTON J. YORK                500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Chief Strategy Officer                                         No             DAVID JACOBS                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             DAVID JEWELL                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Zone Vice President                                            No             DAWN MARTINEZ                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA
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                                                                                                                                                                 Last
      Title                                                          Director       Name                          Address                                        Updated

      Zone Vice President                                            No             DOUGLAS YOST                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             JONATHAN L.                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    ELDER                          23320 - 0000, USA

      Chief Information Officer                                      No             JOSHUA R. JEWETT               500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Senior Vice President, Controller and                          No             KATHLEEN MALLAS                500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
      Assistant Secretary                                                                                          23320 - 0000, USA

      Deputy General Counsel                                         No             KAY STOCKWELL                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             KEITH ZANNI                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             LEONEL ANGUIANO                500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             MICHEAL                        500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    HENDRICKS                      23320 - 0000, USA

      Vice President                                                 No             MIKE PROFFIT                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Senior Vice President                                          No             PATRICK                        500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    MULLARKEY                      23320 - 0000, USA

      Zone Vice President                                            No             PETER BARNETT                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA
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                                                                                                                                                                 Last
      Title                                                          Director       Name                          Address                                        Updated

      Vice President                                                 No             RANDY GUILER                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Chief Merchandising Officer                                    No             RICHARD MCNEELY                500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             ROBERT GANTT                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Senior Vice President                                          No             ROBERT                         500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    OBEROSLER                      23320 - 0000, USA

      Vice President                                                 No             ROBERT THOMSON                 500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Zone Vice President                                            No             RUSS HARDEN                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             RYAN HILL                      500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             SCOTT KERN                     500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Assistant Secretary                                            No             SHAWNTA                        500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    TOTTEN-MEDLEY                  23320 - 0000, USA

      Senior Vice President                                          No             STEVE FARRELL                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Vice President                                                 No             STEVEN                         500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    SCHUMACHER                     23320 - 0000, USA
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                                                                                                                                                                 Last
      Title                                                          Director       Name                          Address                                        Updated

      Vice President                                                 No             SUZAN KAUFMAN                  500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Senior Vice President                                          No             THOMAS                         500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                    MCALOON                        23320 - 0000, USA

      Senior Vice President                                          No             TODD LITTLER                   500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Chief Operating Officer                                        No             TOM O'BOYLE                    500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Zone Vice President                                            No             VIRGINIA CHASE                 500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
                                                                                                                   23320 - 0000, USA

      Chief Legal Officer, General Counsel and                       No             WILLIAM A. OLD.                500 VOLVO PKWY, CHESAPEAKE, VA,               09/29/2020
      Corporate Secretary                                                           JR.                            23320 - 0000, USA



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